                    Case 1:11-cr-00424-DLB
AO 245B-CAED (Rev. 09/2011)                               Document
                            Sheet 1 - Judgment in a Criminal Case                     18 Filed 08/29/12 Page 1 of 4


                                           United States District Court
                                                    Eastern District of California

             UNITED STATES OF AMERICA                                                  2nd AMENDED JUDGMENT IN A CRIMINAL
                        v.                                                             CASE
                 AMANDA SULLIVAN                                                       (For Offenses Committed On or After November 1, 1987)
                                                                                       Case Number: 1:11-CR-00424-001


Date of Original Judgment: 5/24/2012                                                   Samya Burney
(O r Date of Last Am ended Judgm ent)                                                  Defendant’s Attorney

Reason for Amendment:
[ ]   Correction of Sentence on Remand (Fed R. Crim. P. 35(a))             [ ]   Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))

[ ]   Reduction of Sentence for Changed Circumstances
      (Fed R. Crim. P. 35(b))                                              [ ]   Modification of Imposed Term of Imprisonment for Extraordinary and
       Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ]   Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))   [ ]   Modification of Imposed Term of Imprisonment for Retroactive
      Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[U] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)      [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
 [ ] 18 U.S.C. §3559(c)(7),                                                [ ] Modification of Restitution Order
THE DEFENDANT:

[U]         pleaded guilty to count: 1 of the Superseding Inform ation .
[]          pleaded nolo contendere to counts(s)        which was accepted by the court.
[]          was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                 Date Offense                                                Count
Title & Section             Nature of Offense                                   Concluded                                                    Number(s)
16 USC § 1538(a)(1)(F), 1540                Illegal Offer to Sell Endangered Species In                      8/24/2011 - 10/6/2011           1
(b)(1)                                      Interstate Com m erce

        The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)                  and is discharged as to such count(s).

[U]         All remaining counts of the Superseding Information are dismissed on the motion of the United States.

[]          Indictment is to be dismissed by District Court on motion of the United States.

[]          Appeal rights given.                                  [U]      Appeal rights waived.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                                                              5/17/2012
                                                                                                   Date of Im position of Judgm ent

                                                                                                         /s/ Sheila K. Oberto
                                                                                                     Signature of Judicial Officer

                                                                                    SHEILA K. OBERTO, United States Magistrate Judge
                                                                                              Nam e & Title of Judicial Officer

                                                                                                                 8/29/2012
                                                                                                                    Date
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DEFENDANT:                  AMANDA SULLIVAN



                                           UN-SUPERVISED PROBATION
                               The defendant is hereby sentenced to probation for a term of 1 year .



The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
         et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
         or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                     CaseSheet
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                               5 - Criminal Monetary Penalties             18 Filed 08/29/12 Page 3 of 4
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DEFENDANT:                  AMANDA SULLIVAN



                                       CRIMINAL MONETARY PENALTIES
      The defendant m ust pay the total crim inal m onetary penalties under the Schedule of Paym ents on Sheet 6.

                                                Assessm ent                          Fine                       Restitution
       Totals:                                    $ 25.00                          $ 500.00                        $


[]     The determ ination of restitution is deferred until        . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determ ination.

[]     The defendant m ust m ake restitution (including com m unity restitution) to the following payees in the am ount listed
       below.

       If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned paym ent, unless
       specified otherwise in the priority order or percentage paym ent colum n below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victim s m ust be paid before the United States is paid.




Name of Payee                                   Total Loss*                    Fine Ordered               Priority or Percentage
                                                                                  $500.00

       TOTALS:                                     $                               $500.00



[]     Restitution am ount ordered pursuant to plea agreem ent $

[]     The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on
       Sheet 6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]        The court determ ined that the defendant does not have the ability to pay interest and it is ordered that:

       [U] The interest requirem ent is waived for the             [U] fine             [ ] restitution

       [ ] The interest requirem ent for the           [ ] fine    [ ] restitution is m odified as follows:




[]     If incarcerated, paym ent of the fine is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .

[]     If incarcerated, paym ent of restitution is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .




  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
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                              6 - Schedule of Payments   Document 18 Filed 08/29/12 Page 4 of 4
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                                            SCHEDULE OF PAYMENTS


     Paym ent of the total fine and other crim inal m onetary penalties shall be due as follows:

A    [U]         Lum p sum paym ent of $ 25.00 due im m ediately, balance due

           []    not later than  , or
           []    in accordance with         [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [ ] Paym ent to begin im m ediately (m ay be com bined with          [ ] C,   [ ] D, or [ ] F below); or

C    [U] Paym ent in equal m onthly (e.g., weekly, m onthly, quarterly) installm ents of $ 50.00 over a period of 12
        m onths (e.g., m onths or years), to com m ence July 1, 2012

D    [ ] Paym ent in equal     (e.g., weekly, m onthly, quarterly) installm ents of $ over a period of     (e.g., m onths or
         years), to com m ence     (e.g., 30 or 60 days) after release from im prisonm ent to a term of supervision; or

E    [ ] Paym ent during the term of supervised release will com m ence within   (e.g., 30 or 60 days) after release from
         im prisonm ent. The court will set the paym ent plan based on an assessm ent of the defendant’s ability to pay at that
         tim e; or

F    [ ] Special instructions regarding the paym ent of crim inal m onetary penalties:




Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the Federal
Bureau of Prisons' Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

[]   Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), Total Am ount, Joint and Several
Am ount, and corresponding payee, if appropriate:




[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:




Paym ents shall be applied in the following order: (1) assessm ent; (2) restitution principal; (3) restitution interest, (4) fine
principal, (5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including costs of prosecution and court
costs.
